Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 1 of 14 PageID #: 1393




                          EXHIBIT M
                    Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 2 of 14 PageID #: 1394




U.S. Patent No. 10,607,134

Claim 1                                Exemplary Infringement Evidence1
[1pre] A system comprising:            The Dojo supercomputer infringes the ’134 patent alone or together with Tesla vehicles
                                       operating Software Version 9.0 and beyond (this includes vehicles with enhanced autopilot
                                       and/or full self-driving (FSD)). The Dojo supercomputer alone or together with each of these
                                       vehicles meets the limitations of the claimed system.

                                       The discussion and evidence cited in claims [1a-e] are incorporated herein.


                                           -   See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-
                                               b041NXGPZ8 at 53:32 (this is actually a screenshot of our own simulator. we use
                                               simulation extensively. we use it to develop and evaluate the software. we've also even
                                               used it for training quite successfully), 1:46:51 (this is taken from our actual simulation
                                               environment), 40:52 (we have quite a good a simulation too).




                                           -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:35:05

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    These infringement contentions are prepared with publicly available information.
                                                                     1
Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 3 of 14 PageID #: 1395




                      (we also invest heavily in using simulation)




                  -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:35:36
                      (Simulation is a video game with Autopilot as the player)




                  -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:36:03

                                           2
Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 4 of 14 PageID #: 1396




                      (since it's a simulation it starts from the vector space so it has perfect labels)




                  -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:40:19
                      (we want to recreate any failures that happens to the autopilot in simulation so that we
                      can hold autopilot to the same bar from then on)




                                             3
                 Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 5 of 14 PageID #: 1397




[1a] one or more processors; and   Tesla’s autonomous vehicle simulation system includes one or more processors and one or
                                   more non-transitory machine readable media storing machine readable code that, when
                                   executed by the one or more processors, causes the one or more processors to perform the
                                   claimed features.

                                   For example, the Dojo supercomputer includes one or more processors including one or more
                                   Dojo D1 chip(s).




                                   See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                                                              4
                 Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 6 of 14 PageID #: 1398




                                   Id.




                                   Id.
[1b] one or more non-transitory    Tesla’s autonomous vehicle simulation system includes memory for storing digital pictures correlated
machine readable media storing     with one or more instructions sets for operating a first object of a first application program. The
machine readable code that, when   discussion and evidence cited in claims [1c-f] is incorporated herein.
executed by the one or more
                                                                 5
                 Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 7 of 14 PageID #: 1399




processors, causes the one or more   For example, Tesla’s autonomous vehicle simulation system includes volatile and non-volatile
processors to perform at least:      storage, such as NVME or DRAM respectively, for storing executable machine readable code.




                                     See, e.g., [CVPR'21 WAD] Keynote - Andrej                  Karpathy,   Tesla,   available   at
                                     https://www.youtube.com/watch?v=g6bOwQdCJrc.




                                                                 6
Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 8 of 14 PageID #: 1400




               See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




               Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity - Electrek




                                           7
                  Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 9 of 14 PageID #: 1401




                                       https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving-
                                       data-processing

[1c] accessing a first correlation     Tesla’s autonomous vehicle simulation system accesses a first correlation including a first one
including a first one or more object   or more object representations correlated with a first one or more instruction sets for operating
representations correlated with a      a first avatar of an application, and the first one or more object representations represent one or
first one or more instruction sets     more objects of the application.
for operating a first avatar of an
application, wherein the first one     For example, Tesla uses a supercomputer called DOJO to simulate real world driving
or more object representations         environments      using     real    world      data      and   generated      data.
represent one or more objects of       https://www.youtube.com/watch?v=g6bOwQdCJrc (14:30 to 15:30).
the application;
                                       Tesla’s supercomputer is capable of behaving appropriately because the simulated car “avatar”
                                       is provided with driving instructions “first one or more instruction sets for operating a first
                                       avatar” that are correlated with object representations, e.g., simulated people, cars, traffic
                                       lights, traffic signs, etc. https://youtu.be/j0z4FweCy4M at 39 to 46 (showing simulated car in
                                       DOJO driving and reacting appropriately to cars, people, traffic signs, traffic lights, etc.); see
                                       also https://www.youtube.com/watch?v=6hkiTejoyms at 0:04 to 0:11 (“Today we are going to
                                       see how Tesla uses no less than a simulated game world to train their self-driving cars.”).




                                                                     8
                 Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 10 of 14 PageID #: 1402




                                   See https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing an automatic
                                   emergency breaking system). As shown in the clip, each simulated Tesla vehicle has sensors
                                   such as cameras, etc. that are used to detect a first object representations, e.g., a pedestrian in
                                   front of the vehicle.

[1d] generating or receiving a     Tesla’s autonomous vehicle simulation system generates or receives a second one or more
second one or more object          object representations, and the second one or more object representations represent one or more
representations, wherein the       objects of the application. See citations and analysis for claim element 1b. The any object
second one or more object          representation that is similar to but different from the first object representation can correspond
representations represent one or   to the claimed second “object representation,” e.g., a second pedestrian different from the first
more objects of the application;   different pedestrian, can represent an object (e.g., person) in the simulated application on the
                                   DOJO supercomputer.

                                   For example, Tesla uses a supercomputer called DOJO to simulate real world driving
                                   environments for simulated Tesla Fleet vehicles using real world data and generated data.

                                                                 9
Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 11 of 14 PageID #: 1403




               See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




               Id.

               This real world and generated data includes video data, which includes object representations.
               Given that the video data is from the real world and generated simulations of real world

                                          10
Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 12 of 14 PageID #: 1404




               environments the object representations represent objects of the application. See, for example,
               the simulated environment below showing a simulation of a person near the simulated car from
               the first application program (DOJO AI simulation).




               See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

               As shown in the above-cited video, Tesla’s supercomputer is capable of behaving appropriately
               because the simulated car is provided with driving instructions that are correlated with objects,
               e.g., simulated people, cars, traffic lights, traffic signs, etc.




                                           11
                 Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 13 of 14 PageID #: 1405




                                       See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

[1e] determining the first one or      Tesla’s autonomous vehicle simulation system determines the first one or more instruction sets
more instruction sets for operating    for operating the first avatar of the application based on at least partial match between the
the first avatar of the application    second one or more object representations and the first one or more object representations. For
based on at least partial match        example, the DOJO simulation determines an instruction set (e.g., steer to the left) for operating
between the second one or more         the first simulated vehicle (first avatar) of the simulation application based on at least partial
object representations and the first   match between the second one or more object representations (e.g., pedestrian jogging on the
one or more object representations;    right hand side of the road) and the first one or more object representations (e.g., a pedestrian
and                                    on the right hand side of the car). https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-
                                       important-news/ at 38:45 to 39:00

[1f] at least in response to the       Tesla’s autonomous vehicle simulation system causes, at least in response to the determining,
determining, causing the first         the first avatar of the application or a second avatar of the application to perform one or more
avatar of the application or a         operations defined by the first one or more instruction sets for operating the first avatar of the
second avatar of the application to    application at least by executing the first one or more instruction sets for operating the first
perform one or more operations         avatar of the application. For instance, the DOJO simulation, in response to determining the
defined by the first one or more       person of the right hand side of the simulated car, causes the first avatar (simulated car) of the
instruction sets for operating the     application to perform one or more operations defined by the first one or more instruction sets
first avatar of the application at     for operating the first avatar of the application (i.e., steers the car to the left) at least by

                                                                    12
                 Case 1:22-cv-01466-MN Document 1-13 Filed 11/07/22 Page 14 of 14 PageID #: 1406




least by executing the first one or executing the first one or more instruction sets for operating the first avatar of the application.
more instruction sets for operating https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-important-news/ at 38:45 to 39:00.
the first avatar of the application.




                                                                  13
